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EXHIBIT B
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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                               CIVIL ACTION
       v.
                                               FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


               DECLARATION OF DR. BENJAMIN ADIDA

      Pursuant to 28 U.S.C. § 1746, I, DR. BENJAMIN ADIDA, make the

following declaration:

      1.    My name is Benjamin Adida. I am over the age of 21 years, and I

am under no legal disability which would prevent me from giving this

declaration. If called to testify, I would testify under oath to these facts.

      2.    I am the co-founder and Executive Director of VotingWorks. I

hold a PhD in cryptography and information security from MIT, specializing

in election security, a Postdoctoral Fellowship from Harvard University on

the same topic, and I was on the Faculty at Harvard from 2008 to 2011. In

addition to my academic work, I have extensive experience building secure

systems in industry for both the non-profit and for-profit sectors. I led web


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authentication at Mozilla, the makers of the Firefox web browser, from 2011-

2013, product engineering at Square, the payments platform, from 2013-

2015, and was VP Engineering at Clever, the secure K-12 learning platform

used in over half of US schools. I specialize in the development and

deployment of advanced, usable, security & privacy technology.

        3.   VotingWorks is a non-profit organization that assists

jurisdictions with training and implementing risk-limiting audits.

VotingWorks is a non-profit vendor of election auditing technology and, more

recently, voting systems, in the United States. We offer affordable, open-

source, commercial-off-the-shelf (COTS) voting equipment, including

accessible ballot-marking devices and hand-marked paper ballots (the

VotingWorks system is still in the process of being certified under the VVSG

Standards). We also provide open-source software—which can be verified for

accuracy by other experts—and training services to states to help them pilot

and run risk-limiting audits, which is our most prominent activity to date. In

addition to our considerable experience designing and assisting jurisdictions

in the implementation of RLAs, we also work in close collaboration with other

organizations promoting RLAs across the country, including Verified Voting,

the Brennan Center for Justice at NYU, Common Cause, and the Democracy

Fund.

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      4.     The National Academies report of 2018, Securing the Vote, clearly

lays out voter-verifiable paper ballots and post-election audits as the two

pillars of election integrity. Now that a voter-verifiable paper trail is

available in Georgia, we have been able to work with the State on post-

election audits, whose role is to ensure that paper ballots that have been

verified by the voter are properly counted as the voter saw them.

      5.     A risk-limiting audit (RLA) is a type of post-election tabulation

audit that examines a random sample of voter-verifiable paper ballots to

produce strong evidence that, if a full hand-count were performed on the

paper ballots, that recount would yield the same winner as originally

reported by the ballot scanners. An RLA also provides that, if sufficient

evidence of a correct outcome is not discovered, the audit will expand into a

full hand recount such that the true winner can be determined. Running a

risk-limiting audit is one of the most important advances states can take in

improving election integrity – without an RLA, we are effectively trusting

computerized scanners to count our paper ballots.

      6.     Thus, it is of the utmost importance, for the sake of election

integrity across the country, that states take meaningful steps to implement

RLAs, so that the public may trust that their votes have been properly

tabulated.

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      7.    Though RLAs were first invented in 2007 and piloted extensively

under a federal grant program implemented by the U.S. Election Assistance

Commission (EAC) in 2010, the first state-wide RLA was not conducted until

Colorado made history in 2017. Colorado’s process continues to evolve and

improve with each successive election. Though many of the lessons learned

in Colorado have enabled much faster deployments of RLAs elsewhere,

Colorado’s program is not broadly generalizable to the rest of the country,

since few other states have fully centralized ballot tabulation systems.

      8.    The deployment of RLAs is challenging. A carefully coordinated

process between the state and its local jurisdictions is required, and a careful

workflow must be followed for the results to be valid. Those processes will

vary from state to state and from county to county. They must be carefully

designed and practiced for an audit to be successful. Especially for states and

counties that have recently moved to using paper ballots, the design of ballot

custody and reconciliation processes is new and often difficult. Piloting RLAs

prior to full implementation helps identify needed changes in election

processes and familiarizes election officials with the proper procedures.

      9.    VotingWorks specializes in the implementation of risk-limiting

audits. We understand the process, we teach it to election officials, and we

help them implement it. With funding from the Department of Homeland

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Security, we have developed and continue to improve Arlo, the only software

available to run state-wide risk-limiting audits outside of Colorado’s custom-

built system. Earlier this year, we helped Rhode Island become the newest

state to run a binding statewide RLA, and we helped run successful statewide

RLA pilots in Michigan and Pennsylvania. We have also helped election

officials in California, Georgia, Virginia, Missouri, New Jersey, and Ohio run

smaller RLA pilots.

      10.   In our extensive experience deploying RLAs, we have found that

it is important to start by piloting the audit in a small number of

jurisdictions. These RLA pilots serve to troubleshoot and improve the ballot

custody and reconciliation processes upon which the RLA depends, as well as

train election officials across the state in the mechanics of running an RLA.

Only after piloting can a state be expected to run a statewide RLA that can

ensure that the correct winner was declared. In our experience, hiccups and

imperfections are to be expected when a state runs their initial RLA pilots. In

fact, that is the entire point of piloting: to improve election integrity by

finding the imperfections and fixing them. We also knowingly make a

number of concessions in pilots that we would not make in an official, binding

audit, simply to make the pilots possible. We are careful to note these

adjustments and discuss how the pilots differ from a true RLA. Perfection is

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not the goal of an RLA pilot; these are learning experiences, with a goal of

continuous improvement. Implementing an RLA without this extensive

preparation and piloting is strongly unadvisable, as the inevitable hiccups

that occur when deploying any auditing process for the first time could, in

and of themselves, cause unwarranted mistrust of the election outcome, the

opposite of the intended effect.

      11.   VotingWorks has assisted the Georgia Secretary of State’s office

over the past year with the development of the statewide RLA process for

Georgia. That included several pilots and providing assistance with drafting

the State Election Board rule, modeled off of the Rhode Island statute, that is

now out for public comment. The State Election Board rules capture the

experience gained from the pilots and our input about the design of the RLA,

as well as the experiences of other states who are also implementing RLAs.

      12.   One important benefit of RLAs is that they protect against any

malfunction or hack of the QR code on ballots produced by ballot-marking

devices. As long as voters verify the text, and as long as RLAs are conducted

on the basis of the same ballot text (such as is required by Georgia’s proposed

rule), then potential QR code mismatches are caught just like any other

tabulation mistake might be caught. A successful RLA thus provides strong




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evidence that, if there were QR code mismatches, they did not affect the

outcome of the election.

      13.   I explained this situation in detail in a recent expert panel at

USENIX Security in early August 2020. Every RLA VotingWorks has helped

conduct uses the human-readable text, not the QR code, as the measure of

voter intent. Thus, RLAs that VotingWorks supports protect against QR-code

mishaps.

      14.   RLAs are, after paper ballots, the second most important

measure states can take to bolster their election integrity. For the 2020

general election, VotingWorks hopes to see as many as 10 states run risk-

limiting audits. Those states will have already run pilots, designed and tested

their paper-ballot-handling flows, and prepared themselves to run a

meaningful and efficient risk-limiting audit. While these audits shouldn’t be

expected to run perfectly from the start, their deployment remains one of the

shining examples of improved election integrity through research and

technology transfer.



      I declare under penalty of perjury under the laws of the United States

of America that the foregoing is true and correct. Executed this 28th day of

August, 2020.

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                                  BENJAMIN ADIDA, Ph.D.




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